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                                    IN THE UNITED STATES DISTRICT COURT
     10
                                                     DISTRICT OF NEVADA
     11

     12   ROBERT A. SLOVAK. an individual                           CASE NO.

     13                           Plaintiff,
                                                                    PETITION FOR REMOVAL
     14   vs

     15   GOLF COURSF VILLAS
=!
          HOMEOWNERS’ ASSOCIATION; GOLF
     16   COURSE VILLAS LIMITED
          PARTNERSHIP; WELLS FARGO BANK,
     17   N.A.. and DOES I 10. Inclusive.
                              -




     18                           Defendants.

     19   TO:    THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF NEVADA

     20          Defendant WELLS FARGO BANK. N.A. (‘Wells Fargo”). pursuant to 28 U.S.C.       §   1332,

     21   hereby removes to this Court, Case No. CV 13-02033, currently pending in Department 3 of the

     22   Second Judicial District Court, Washoe County, Nevada (the ‘Action”). The removal of this

     23   Action is based on the following grounds.

     24   I.     SUMMARY OF PLEADINGS

     25          On September 13. 2013, Plaintiff Robert A. Slovak (“Plaintiff’) filed a Complaint

     26   initiating the Action. The Complaint and Summons were served on Wells Fargo on September

     27   20, 2013.   A copy of all process, pleadings, briefings, and orders served upon Defendant is

     28   attached pursuant to 28 U.S.C.       §   1446. (See Ex. 1.)
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 1   IL     NATURE OF COMPLAINT

 2          Plaintiff’s Complaint is one for quiet title and declaratory relief.   Plaintiff asserts that he

 3   is the current owner of Property located at 928 Northwood Boulevard #2, Incline Village, NV

 4   89451. See Compi. at ¶1. Wells Fargo has recorded a Deed of Trust against the Property that
                                                                                     14
                                                                                     /
                                                                                     1
                                                                                     th
 5   purportedly encumbers both the subject property as well as an undivided                interest in the

 6   Common Area associated with the subject property. Compi, at ¶14. Plaintiff alleges that Wells

 7   Fargo cannot encumber the Common Area because such encumbrance requires a membership

 8   vote of the Golf Course Villas Homeowners’ Association (“GCV HOA”), and no such vote ever

 9   took place. Compl. at ¶15. The Complaint seeks to quiet title against “all Defendants,” however

10   Plaintiff alleges the only Wells Fargo claims an interest in the subject property as a trust deed

11   beneficiary adverse to Plaintiff.” Compl. at ¶22-23.

12          Plaintiff also alleges a claim for Declaratory Relief seeking a “determination of the rights

13   and duties of the parties associated with the Property” as well as a declaratory judgment against

14   defendants in an amount to be determined at trial,’ plus attorneys’ fees and costs          Compl at

15   ¶j2526, 28 Plaintiff also asserts that as a result of the alleged negligence and/or misconduct of

16   Wells Fargo, GCV and Golf Course Villas Homeowners’ Association (“GCV HOA”), Plaintiff is

17   unable to transfer ownership in his property free of legal uncertainty. Compl. at ¶27. Plaintiff

18   however, does not assert a cause of action for negligence against any defendant.

19          Plaintiff seeks judgment quieting title in his favor, a declaration of the rights and duties of

20   the parties, specifically that Wells Fargo lacks a valid interest in the Property, a temporary

21   restraining order and preliminary and permanent injunction on behalf of Plaintiff against Wells

22   Fargo, and costs and other relief as deemed just under the circumstances. Compi. at 2:19

23   IlL    STATEMENT OF JURISDICTION

24          Pursuant to 28 U.S.C. §1441(a), “any civil action brought in a state court of which the

25   district courts of the United States have original jurisdiction, may be removed by the defendant or

26   the defendants, to the district court of the United States for the district and division embracing the

27   place where such action is pending.”        As discussed herein, this action is removable under

28
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      1   28 U.S.C. §1441(a) because the district court has original jurisdiction under 28 U.S.C.              §   1332

      2   (diversity), venue is proper in the District of Nevada. and this Notice of Removal is timely filed.

      3           A.         Complete Diversity Exists Among the Parties.

      4           There is complete diversity between the parties because. as set forth in detail below, none

      5   of the properly joined Defendants are citizens of Nevada. At the time Plaintiffs Complaint was

      6   flIed. Plaintiff was an individual residing in the County of Washoe, State of Nevada. (Compi. ¶ 1.

      7   Plaintiff at all times mentioned herein was and is a resident and domicile of the State of

      8   Nevada”.) Under 28 U.S.C.              § 1332(c)(l). a corporation is a citizen of any state in which it has
      9   been incorporated and of any state where it has its principal place of business. Wells Fargo is,

     10   and was at the time this action commenced, a citizen of South Dakota, the state listed on Wells

     11   Fargo’s organization certificate.           Wachovia Bank v. Schmidt, 546 U.S. 303, 307 (2006) (‘“[A]

     12   national bank, for     § 1348 purposes, is a citizen of the State in which its main office, as set forth in
..   13   its articles   of association.   is   located.”). The citizenship of Does 1-100 is disregarded for purposes

     14   of remo\aI 28 U S C         § 144 1(a) ( Foi purposes of remo\al under this chapter the citizenship of
     15   delendants sued undei fictitious names shall be disregarded )               While Plaintiff has named (iCy

     16   LP. a Nevada limited-partnership and GCV HOA, a Nevada non-profit corporation as individual

     17   defendants, their respective citizenship should not be considered because they each were

     18   purposefully and fraudulently joined solely to defeat diversity, as set forth below.

     19                  1. Legal standard to disregard citizenship for purposes of diversity.

     20           A fraudulently joined defendant will not defeat removal on diversity grounds. Silon v.

     21   American Home Assurance Company, 2009 WE 1090700,                    *
                                                                                   4 (D. Nev. 2009) (citing Ritchey v.

     22   Upjohn Drug Co., 139 F. 3d 1313, 1318 (9th Cir. 1998) (“fraudulently joined defendants will not

     23   defeat removal on diversity grounds.”) “[Al defendant must have the opportunity to show that

     24   the individuals joined in the action cannot be liable on any theory.” Ritchej’, 139 F. 3d at 1318.

     25   In determining fraudulent joinder, “the Court          may ‘pierce   the pleadings’ and consider ‘summary

     26   judgment-type evidence such as affidavits and deposition                 testimony.”    Morris v Princess

     27   Cruises, Inc., 236 F.3d 1061. 1068 (9th Cir. 2001) (citing Cavallini v. State Farm Mut. Auto. Ins.

     28   Co., 44 F.3d 256, 263 (5th Cir. 1995).)


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     1           “If the plaintiff fails to state a cause of action against a resident defendant, and the failure

     2   is obvious according to the settled rules of the state, the joinder of the resident defendant is

     3   fraudulent.” McLcibe v. General Foods Coip.. 811 F. 2d 1336. 1339 (9th Cir. 1987) (finding that

     4   non-diverse defendants who were agents, and not acting on their own behalf, were fraudulently

     5   joined and their presence did not destroy diversity jurisdiction.)

     6                2.   GCTLP and GCVHOA are not real parties to the controversy.

     7           Although there are some factual assertions made against GCV LP and GCV HOA. the

     8   Complaint alleges claims for quiet title and declaratory relief which are substantively asserted

     9   only against Wells Fargo.

    10          Plaintiffs claim for quiet title is only clearly asserted against Wells Fargo and Does 1-10.

    11   Comp. at 4:3. Although Plaintiff later states he seeks quiet title against “all Defendants,” he

    12   states only that Wells Fargo claims an interest in the subject property as a trust deed beneficiary

    13   adverse to Plaintiff Comp. at ¶22-23.        A quiet title claim requires a plaintiff to allege that the

    14   defendant is unlavJulk asserting an ad\erse claim to title to ieal propert)         Tuibaj v Bank of

    15   4iii     4    2 12-CV-1367 JCM PAL 2013 WL 1145212, at *4 (D Ne Mar 18 2013)

:   16   (unpublished): Keinberling v. Ocwen Loan Servicing, LL, 2:09—CV—00567RCJ LRL. 2009 WL

    17   5039495. at *2 (D. Nev. Dec. 15, 2009) (unpublished). PlaintifPs Complaint does not allege that

    18   either GCV LP or GCV HOA has asserted any claim to the Property.

    19           Similarly, despite including GCV LP and GCV HOA in the claim for declaratory relief, it

    20   is clear that Plaintiff seeks a determination by this Court regarding the property rights and duties

    21   of the parties associated with the Property. This claim is not properly asserted against GCV LP or

    22   GCV HOA because no actual claim or controversy exists between Plaintiff and GCV LP or GCV

    23   ROA.     The Declaratory Judgment Act gives federal courts discretion to issue declaratory

    24   judgments. but only if an actual controversy exists in the court’s jurisdiction. See 28 U.S.C.        §
    25   2201(a); American States Ins. Co. v. Kearns, 15 F.3d 142. 143 (9th Cir. 1994). The Act does not

    26   provide an independent cause of action. S Jackson & Son, Inc. v. Coffee. Sugar & Cocoa

    27   Exchange, Inc.. 24 F.3d 427, 431 (2d Cir. 1994).       The threshold question before determining if a

    28   declaratory judgment is proper is whether there is an actual controversy between parties who have


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     1   adverse legal interests. £ Jackson & Son, Inc. v. Coffee, Sugar & Cocoa Exchange, Inc., 24 F.3d

     2   427, 431 (2d Cir. 1994). Without such an allegation, or any basis to support such an allegation

     3   (which has not been made). dismissal is proper as to Plaintiffs declaratory relief claim against the

     4   GCV LP and GCV HOA.

     5             That GCV LP and GCV HOA were fraudulently joined is made even more apparent by

     6   Plaintiffs request for relief which is solely directed towards Wells Fargo. As explained above,

     7   Plaintiff seeks judgment      quieting   title in his favor; for a declaration of the rights and duties of the

     8   parties, specifically that Wells Fargo lacks a valid interest in the Property; for a temporary

     9   restraining order and preliminary and permanent injunction on behalf of Plaintiff against Wells

    10   Fargo; costs and other relief as deemed just under the circumstances. Compl. at p. 5. Plaintiff

    Ii   seeks no relief related to any purported claim against GCV LP or GCV HOA. Because Plaintiff

    12   has failed to state a claim against GCV LP and GCV HOA, their joinder in this action should he

    13   deemed fraudulent. Thus. GCV LP and GCV HOA should not be considered for purposes of

    14   dixersit’       Id
‘

    15               B        The Amount in Controersy Requirement Is Satisfied

    16             The Action satisfies the jurisdictional amount required under 28 U.S.C.         §   1332(a) because

    17   Plaintiffs Complaint establishes that the amount in controversy exceeds the sum of $75,000.00.

    18   “In a   suit   to quiet title, or to remove a cloud therefrom, it is not the value of the defendant’s claim

    19   which is the amount in controversy, hut it is the whole of the real estate to which the claim

    20   extends.” Allum v. Mortgage Elec. Registration Sys., Inc., 2:12-CV-00294-GMN, 2012 WL

    21   4746927 (D. Nev. Oct. 3, 2012) (citing Gar/inkle v. Wells Fargo Bank, 483 F.2d 1074, 1076 (9th

    22   Cir. 1973) (treating entire value of real property as amount in controversy in action to enjoin

    23   foreclosure sale).)        In actions involving equitable relief, the standard is that the amount in

    24   controversy may be measured by the value of the relief sought by plaintiff or the cost to defendant

    25   if the relief is granted. See Riddler Bros., Inc. v. Biethen. 142 F.2d 395. 398-99 (9th Cir. 1944).

    26   The United States Supreme Court further clarified that in actions for declaratory and injunctive

    27   relief. “it is well established that the amount in controversy is measured by the value of the object

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 1   of the litigation.” Hunt v. Washington State Apple Advertising Corn ‘n, 432 U.S. 333, 347

 2   (emphasis added).

 3           Here, because Plaintiff seeks to quiet title to the Property, the “object of the litigation” is

 4   the Property itself. Plaintiff claims that as of August, 2013, he had an agreement to sell the

 5   Property for $825,000. See Compi. ¶17. Thus, the value of the Property is well over the

 6   $75,000.00 threshold and the aggregate amount of Plaintiffs claims amply satisfies the amount in

 7   controversy requirement.

 8          For this reason, and because this Action is between citizens of different states, this Court

 9   has original jurisdiction over Plaintiff’s claims under 28 U.S.C.             §   1332(a), and this case is

10   properly removed to this Court pursuant to 28 U.S.C.     §   1441(a).

11   IV.    TIMELINESS OF AND CONSENT TO REMOVAL

12          A defendant must remove the case to federal court within 30 days of receipt of the

13   complaint or “a copy of an amended pleading, motion, order or other paper from which it may

14   first be ascertained that the case is one which is or has become removable’                 See 28 U S C S

15   1446(b) The thirty-day period for removal does not begin to run until a party has received a copy

16   of the complaint and been properly served. Murphy Brothers, Inc. v. Michetti Pipe Stringing,

17   Inc., 526 U.S. 344, 347-48 (1999). Wells Fargo was served with the Summons and Complaint on

18   September 20, 2013 (See Notice of Service Process, attached with Ex. 1).                     This Notice of

19   Removal is timely filed under 28 U.S.C.        §   1446(b)(1) since thirty days from Wells Fargo’s

20   receipt of the Summons and Complaint does not expire until October 20, 2013.

21          Moreover, in accordance with the requirements of 28 U.S.C.                 §   1446(a), a copy of the

22   Complaint and all other papers served on Wells Fargo and/or filed in the State Court Action as of

23   the filing of this Notice of Removal are attached hereto as Exhibit 1. Wells Fargo will also

24   timely file a Notice of Removed Action in the Second Judicial District Court, Washoe County,

25   Nevada, a true and correct copy of which is attached hereto as Exhibit 2. 28 U.S.C.               §   1446(d).

26   Wells Fargo is providing written notice to Plaintiff, 28 U.S.C.         §   1446(d). Wells Fargo reserves

27   the right to amend or supplement this Notice of Removal.

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 1          As a general rule, removal requires the consent of all co-defendants. “In cases involving

 2   alleged improper or fraudulent joinder of parties, however, application of this requirement to

 3   improperly or fraudulently joined parties would be nonsensical, as removal in those cases is based

 4   on the contention that no other proper defendant exists.” Jernigan v, Ashland Oil, 989 F.2d 812,

 5   815 (5th Cir. La. 1993). Because GCV LP and GCV HOA have each been fraudulently joined as

 6   a Defendant, their consent to removal is not needed. See Simpson v. Union Poe. R.R, Co., 282 F.

 7   Supp. 2d 1151, 1157 (N.D. Cal. 2003) (“Fraudulent joinder provides an exception to the

 8   unanimity requirement, in that the consent of a fraudulently joined defendant is not required to

 9   remove a case.”)

10   V.     CONCLUSION

11          Because Wells Fargo has timely filed a notice of removal for which this Court has

12   original, diversity jurisdiction, the Action is properly removed to this Court.

13          Dated October 10, 2013                      SNEL L & WU MER L L P
14

15                                                 By     /s/ Catherine M O’Mara
                                                        Richard C. Gordon, Esq.
16                                                      Catherine M. O’Mara
                                                        50 W. Liberty Street, Suite 510
ii
                                                        Reno, NV 89501
18                                                 Attorneys for Defendant Wells Fargo Bank, NA.
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          ______________
          _____________
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          ______________




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      I                                         CERTIFICATE OF SERVICE

                     I. the undersigned. declare under penalty of perjury. that I am over the age of eighteen

          (18) years. and I am not a party to, nor interested in, this action. On this date, I caused to be
      4
          served a true and correct copy of the foregoing PETITIO FOR REMOVAL by the method

          indicated:
      6
                     X              U.S. Mail
      7
                                    U.S. Certified Mail
      8
                                    Facsimile Transmission
      9
                                    Overnight Mail
     10
                                    Federal Express
     11
                                    Hand Delivery
     12

     Ii   and addressed to the following:
     14
          Robert A. Slovak
     15   928 Northwood Blvd. #2
—         Incline Village, NV 89451
j)
     16
          Plaint//f
     17

     18
                     DATED: October 10, 2013
     19
                                                                Is! Dawn Calhoun
     20                                                    An Employee of Snell & Wilmer LLP
          18079287
     21

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